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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                      June 15, 2023

BY ECF & BY EMAIL
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

               Re:    United States v. Brijesh Goel
                      22 Cr. 396 (PKC)

Dear Judge Castel:

       The Government respectfully writes in response to the Court’s draft instructions, Court
Exhibit 3. The Government requests that the Court consider amending Court Exhibit 3 as described
below.

        First, the Government proposes that the Court amend the “Use of Recordings and
Transcript instruction,” Instruction XIX, page 17, to clarify that the foreign language portions of
the transcripts are substantive evidence and that the English language portions of the transcripts
are an aid. To that end, the Court might consider the following instruction:

               In connection with the recordings that you have heard, you were
               given transcripts of the conversations to assist you. I told you then
               and I remind you now, the transcripts of English language
               recordings are not evidence. It is the recordings that are
               evidence. The transcripts were provided as an aid to you while you
               listened to the recordings. It is for you to decide whether the
               transcripts correctly present the conversations as they are heard on
               the recordings you have listened to. If you perceive any difference
               between the recording and the transcript, it is the recording that
               controls.

               However, the English-language translations of any foreign-language
               recording or portion of a recording are evidence. Although some of
               you may know foreign languages, it is important that all jurors
               consider the same evidence. Therefore, you must accept the
               evidence presented in the English translations.
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The Government’s proposal is adapted from the charges given in United States v. Ernesto Lopez
et al., 18 Cr. 06 (DLC) (S.D.N.Y. 2019), and United States v. Louis Cherico, 08 Cr. 786 (CM)
(S.D.N.Y. 2011).

       Second, the Government proposes that the Court amend the “Charts, Tables and
Summaries,” Instruction XXI, page 18, to clarify that different types of charts will have been
admitted by the close of the case:

               The parties presented exhibits in the form of charts and summaries.
               As you will recall, some of the charts and summaries were not
               admitted into evidence, but were shown to you as aids to make the
               other evidence more meaningful and to help you in considering the
               evidence. Others were admitted into evidence as exhibits. I admitted
               these charts and summaries in place of or in addition to the
               underlying documents that they represent in order to save time and
               avoid unnecessary inconvenience. They are no better than the
               testimony or the documents upon which they are based. Therefore,
               you are to give no greater consideration to these charts or summaries
               than you would give to the evidence upon which they are based. It
               is for you to decide whether they correctly present the information
               contained in the testimony and in the exhibits upon which they were
               based.

The Government’s proposal is adapted from the charge in United States v. Milton, 21 Cr. 478 (ER)
and the holdings of United States v. Yousef, 327 F.3d 56, 158 (2d Cir. 2003), and United States v.
Casamento, 887 F.2d 1141, 1151 (2d Cir. 1989).

        Third, on page 25, the Government proposes to strike the word “using” from the second
sentence of the second paragraph, and to add additional language to clarify that the law forbids not
only trades made by the insider who converts confidential information for person use but also tips
by the insider to another for the purposes of trading. See Salman v. United States, 580 U.S. 39, 41
(2016). The Government also requests the addition of language that clarifies two further points:
(a) trading “in knowing possession” is sufficient to establish that the trading was “on the basis of”
inside information and (b) that the self-serving use of confidential information is an act of fraud
(additions in italics):

               For purposes of these charges, an insider is a person who possesses
               material, nonpublic information about a publicly traded company by
               virtue of a relationship that involves a duty of trust and confidence.
               When a person has such “inside” information and his position of
               trust and confidence prohibits him from disclosing that information,
               the law forbids him from buying or selling the securities in question.
               It also forbids him from providing that information to another for
               trading. This is true whether the insider uses the inside information
               for trading in the securities of the company in which he is an insider
               or for trading in the securities of another company, or to tip another
               person for trading. Insider trading may occur when a person

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               misappropriates material, confidential information and then trades,
               or tips another for trading, in breach of the duty of confidentiality
               he or she owes to the source of that information. That person’s
               undisclosed, self-serving use of confidential information to
               purchase or sell securities in breach of the duty of loyalty and
               confidentiality defrauds the principal of the exclusive use of that
               information.

See United States v. Royer, 549 F.3d 886 (2d Cir.2008) (insider trading occurs where defendants
traded while in “knowing possession” of nonpublic information material to those trades); 17 C.F.R.
§ 240.10b5–1(b) (“[A] purchase or sale of a security of an issuer is ‘on the basis of’ material
nonpublic information about that security or issuer if the person making the purchase or sale was
aware of the material nonpublic information when the person made the purchase or sale.”).

       Fourth, on page 43 (at the bottom of the page) and page 45 (at the top of the page), the
Court Exhibit 3 summarizes the definition of “willfully,” which had been more fully defined on
page 30, but the phrasing differs between the pages. The Government proposes that the phrasings
on page 43 and page 45 be standardized to avoid confusion. The Government suggests using the
phrase: “‘willfully’” means to act with a “‘bad purpose.’” See Bryan v. United States, 524 U.S.
184, 191-92 (1998); United States v. Kukushkin, 61 F.4th 327, 331 (2d Cir. 2023).

        Fifth, the Government proposes that the third full paragraph on page 35 be revised to
account for the defendant’s position that he will not stipulate that the securities in this case—those
of Lumos, Patheon, PharMerica, Calgon Carbon, Spirit, and Sprint—are securities of a company
with a class of securities registered under Section 12 of the Securities Exchange Act of 1934 and
thus within the scope of Title 18, United States Code, Section 1348.

        Section 12 of the Securities Exchange Act, which is codified at Title 15, United States
Code, Section 78l, requires, in relevant part, that a company register its securities before its
securities may trade on a national securities exchange. Accordingly, the fact that a company
lawfully has a class of shares trading on a national securities exchange demonstrates that the issuer
has a class of securities registered under Section 12 of the Securities Exchange Act. See, e.g.,
United States v. Ramsey, No. 19 Cr. 268, 2022 WL 596378, at *13 & n.10 (E.D. Pa. Feb. 28, 2022)
(discussing reach of Section 1348 and noting probative value of evidence that stock traded on
national exchange). Here, the record already contains abundant and unchallenged evidence that
the companies at issue traded on NASDAQ and NYSE. See, e.g., GX-103 at 4 (LUMOS trades on
NASDAQ); GX-108 at 5 (Patheon trades on NYSE); GX-112 at 34 (PharMerica trades on NYSE);
GX-116 (CCC trades on NYSE); GX-136 at 5 (Spirit trades on NYSE); GX-115 at 13 (Sprint
trades on NYSE); see also Tr. 213-214 (Carocci testimony that NYSE and NASDAQ are stock
exchanges). Accordingly, the Government proposes that the third full paragraph on page 35 be
revised as follows:

               If you find that the securities you are considering were traded on a
               national securities exchange, such as NASDAQ or NYSE, I instruct
               you that those securities are securities of a company with a class of
               securities registered under Section 12 the Securities Exchange Act
               of 1934.

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   The Government is prepared to proceed with a charge conference at the Court’s earliest
convenience.

                                           Respectfully submitted,

                                           DAMIAN WILLIAMS
                                           United States Attorney


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cc: Defense Counsel (by ECF)




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